USCA Case #24-1113        Document #2090540           Filed: 12/18/2024       Page 1 of 1
                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                  December 18, 2024


Clerk
United States Court of Appeals for the District of
Columbia Circuit
333 Constitution Avenue, NW
Washington, DC 20001


      Re: TikTok, Inc., et al.
          v. Merrick B. Garland, Attorney General
          No. 24-656
          (Your No. 24-1113)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
December 16, 2024 and placed on the docket December 18, 2024 as No. 24-656.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Robert Meek
                                        Assistant Clerk- Emergency Applications
Attorney
